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 6   Attorney for Defendant
     Manuel Keith
 7
                              IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                       )       No. CR-S-11-190 MCE
                                                     )
11                                                   )
             Plaintiff,                              )       STIPULATION REGARDING
12                                                   )       EXCLUDABLE TIME PERIODS
     v.                                              )       UNDER SPEEDY TRIAL ACT;
13                                                   )       ORDER
     NICHOLAS RAMIREZ, et al.,                       )
14                                                   )       Date: April 23, 2015
                                                     )       Time: 9:00 a.m.
15           Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
                                                     )
16                                                   )
                                                     )
17
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
18

19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,

20   Esq. hereby stipulate to the following:
21
          1. By previous order, this matter was set for status conference on April 23, 2015.
22
          2. By this stipulation, Manuel Keith now moves to continue the status conference until
23

24
     August 13, 2015 and to exclude time between April 23, 2015 and August 13, 2015 under the

25   Local Code T-2 and T-4.
26
          3. The parties agree and stipulate and request the Court find the following:
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     a. This case was the product of a lengthy investigation in which wiretaps were utilized
 1

 2      on multiple telephones. The government has produced discovery which to date

 3      includes 1,952 pages containing wiretap applications, periodic reports, and
 4
        investigative materials. Additionally, the government has provided defense counsel
 5
        with voluminous wiretap conversations. The government submitted a plea agreement
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 7
        to counsel for Mr. Keith, in which a “phone count” was offered. Mr. Keith is a

 8      musician who travels internationally. A phone count will be treated as a drug offense
 9      and will prohibit Mr. Keith from entering a number of countries in which he has
10
        performed and where he hopes to perform in the future. Therefore, counsel for Mr.
11
        Keith is continuing in his efforts to persuade the U.S. Attorney’s office to offer a plea
12

13      to misprision of felony, which would not be considered to be a drug offense. Such a

14      plea would not result in any less custodial time than a plea to a phone count. The
15
        government is still considering the counter offer. Further, Mr. Keith lives in Queens,
16
        New York. A continuance now will provide time for counsel for the government to
17
        continue to consider the counter offer and time for Mr. Keith to gather the funds to
18

19      pay for a round trip airline ticket to Sacramento in order to attend court to enter a

20      plea. Further, based on defense counsel’s schedule, the date of August 13, 2015 for
21
        the next status conference will assure a resolution on that date.
22
     b. The Government does not object to the continuance.
23

24
     c. Based on the above-stated findings, the ends of justice served by granting the

25      requested continuance outweigh the best interests of the public and the defendant in a
26      speedy trial within the original date prescribed by the Speedy Trial Act.
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 1         d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
 2            Section 3161(h)(7)(A) within which trial must commence, the time period from April
 3            23, 2015 through August 13, 2015 inclusive, is deemed excludable pursuant to 18
 4
              United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
 5
              Local Code T-2 and T-4 because it results from a continuance granted by the Court at
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              defendant’s request on the basis of the Court’s finding that the ends of justice served
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              by taking such action outweigh the best interest of the public and the defendant in a
 8
              speedy trial.
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 1     4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 2         Speedy Trial Act dictate that additional time periods are excludable from the period within
 3         which a trial must commence.
 4   IT IS SO STIPULATED.
 5
     DATED:        April 24, 2015                          BENJAMIN WAGNER
 6                                                         United States Attorney
 7
                                                           /s/ Jason Hitt
 8
                                                  by
 9                                                         Jason Hitt
                                                           Assistant U.S. Attorney
10
                                                           by Jan David Karowsky
11                                                         w/ Mr. Hitt’s consent

12

13
     DATED:        April 24, 2015                          JAN DAVID KAROWSKY
                                                           Attorney at Law
14                                                         A Professional Corporation
15                                                         /s/ Jan Karowsky
16
                                                  by
17                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
18
                                                           Manuel Keith
19
                                                 ORDER
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21          IT IS SO ORDERED.
22   Dated: April 24, 2015
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